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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )         CRIMINAL ACTION NO.
        v.                                   )            3:15cr240-MHT
                                             )
STEPHEN HOWARD                               )

                                        ORDER

    It is ORDERED that:

    (1) Defendant Stephen Howard’s emergency motion for

compassionate           release    (doc.         no.    102)    is   set    for    an

evidentiary hearing on August 11, 2020, at 10:00 a.m.

(central          time)    by   videoconferencing.               The      clerk    of

court    shall       arrange      for    the       hearing      to   be    held    by

videoconferencing.

    (2) The          government         shall        arrange     for      defendant

Howard       to    participate,         by       videoconferencing,         in    the

evidentiary          hearing.           If       videoconferencing         is     not

feasible,         the     government         shall     notify    the      courtroom

deputy as to what is feasible.

    (3) By 4:00 p.m. (central time) on August 10, 2020,

the parties shall submit pre-hearing briefs summarizing
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what they expect to show at the hearing and identifying

any witnesses they expect to testify.                  If they submit

their briefs under seal, they shall also email a copy

of   their    submissions      to   the   court’s     proposed     orders

email address.

      DONE, this the 4th day of August, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
